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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION


UNITED STATES OF AMERICA                             *
                                                     *
vs.                                                  *       No. 4:01CR00212 SWW
                                                     *
FONTAINE DEMMOND SHERMAN                             *


                                                 Order

       Before the Court is defendant’s submission filed on July 18, 2008, which the Court

interprets as a pro se motion to reduce sentence.1 Defendant mentions “the new crack law”and

states he was sentenced on a crack offense, that the jury did not find an amount, and that his

situation is extraordinary.

       Amendment 706 to the United States Sentencing Guidelines (“Guidelines”) lowered the

base offense levels for crack cocaine offenses, and Amendment 711 identified Amendment 706 as

an amendment that may be applied retroactively, effective March 3, 2008.2 The Court has

reviewed defendant’s case to determine whether he is eligible for a sentence reduction. Based

upon such review, the Court concludes that defendant is not entitled to a reduction of his

sentence.




        1
         Defendant filed a motion for relief pursuant to 28 U.S.C. § 2255 in February 2007, which was
denied in May 2007. The Eighth Circuit denied defendant a certificate of appealability and dismissed his
appeal in October 2007. The Eighth Circuit recently denied defendant’s petition for authorization to file a
successive petition. See docket entry 934 (filed July 23, 2008).
        2
        See U.S.S.G. App. C, Amend. 706, incorporated in U.S.S.G. s 2D1.1 (Supp. May 1, 2008) and App. C,
Amend. 711, incorporated in U.S.S.G. § 1B1.10 (Supp. May 1, 2008).
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       Defendant was charged and found guilty of conspiracy to distribute 5 kilograms of

cocaine and 50 grams of cocaine base.3 Pursuant to 21 U.S.C. § 851(a)(1), the government

notified defendant that upon his conviction, his sentence would be enhanced as a result of a prior

felony drug conviction.4 Pursuant to 21 U.S.C. § 841(b), the Court sentenced defendant to the

statutory minimum sentence of 20 years.5

       Because defendant is serving the mandatory minimum sentence under the statute, the

Court denies his motion to modify his sentence [docket entry 933].

       SO ORDERED this 28th day of July 2008.



                                                /s/Susan Webber Wright

                                                UNITED STATES DISTRICT JUDGE




        3
            See docket entries 678 and 697.
        4
            See docket entry 690.
        5
         The statutory term of imprisonment is not less than 20 years and not more than life. See 21 U.S.C.
§ 841(b).

                                                    2
